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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

  Case No.        CV 21-3538 MWF (PVCx)                                    Date: September 24, 2021
  Title       United African-Asian Abilities Club, et al. v. Pinnacle-Lemoli, LLC, et al.


  Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                     Rita Sanchez                                        Not Reported
                     Deputy Clerk                                  Court Reporter / Recorder

          Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                   Not Present                                        Not Present

  PROCEEDINGS (IN CHAMBERS) COURT ORDER

         In light of the Notice of Settlement [15 ] filed September 22, 2021, the Court
  sets a hearing on Order To Show Cause Re Dismissal for November 1, 2021 at
  11:30 a.m. If a stipulated dismissal is filed prior to this date, the matter will be
  taken off calendar and no appearance is needed. All other hearings and
  deadlines are hereby vacated.

          IT IS SO ORDERED.




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